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                      Exhibit 4
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                        UNITED STATES DISTRICT COURT

                            DISTRICT OF CONNECTICUT


NICOLE CHASE                      :                 NO.: 3:18-cv-00683 (VLB)
                                  :
v.                                :
                                  :
NODINE’S SMOKEHOUSE, INC., CALVIN :
NODINE, TOWN OF CANTON, JOHN      :
COLANGELO, ADAM GOMPPER, MARK J. :
PENNEY, AND CHRISTOPHER ARCIERO   :                 JUNE 25, 2018

                   PLAINTIFF’S INTERROGATORIES AND
            REQUESTS FOR PRODUCTION UPON TOWN OF CANTON

      Pursuant to Rules 33 and 34 of the Federal Rules of Civil Procedure, et.

seq., the plaintiff, Nicole Chase, hereby requests that defendant Town of Canton

answer the following interrogatories within thirty days hereof and produce legible

copies of all requested documents in the defendants’ possession, custody or

control for inspection and/or copying at the Law Office of Lewis Chimes LLC

within thirty (30) days of the date hereof.

                         DEFINITIONS AND INSTRUCTIONS

      The following definitions apply to all discovery requests:

(1) Statement. The term ‘‘statement’’ means: (a) a written statement in the

handwriting of the person making it, or signed, or initialed, or otherwise in writing

adopted or approved by the person making it; or (b) a stenographic, mechanical,

electrical or other recording or a transcription thereof, which is a substantially

verbatim recital of an oral statement by the person making it and which is

contemporaneously recorded;
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      23. All documents and communications concerning complaints of
sex/gender discrimination and/or sexual harassment made by the Town’s
employees or other third parties regarding the defendants or the members of the
Canton Police Department within the past ten years.

ANSWER:



       24.    Any and all photographs, video recordings and/or audio recordings
identified in response to Interrogatory # 8.

ANSWER:




      25.    The current curriculum vitae or resume of any expert witness,
advisor, or consultant who has been retained by the defendant to testify in the
above-entitled proceeding, and any and all materials relied upon by said expert,
and any report, correspondence, or other document prepared by him or her in
connection with this litigation, including drafts of all reports.

ANSWER:



      26.   All documents and communications related to any complaint(s) or
statements (whether formal or informal) by Calvin Nodine to the Canton Police
Department regarding alleged criminal conduct by Nicole Chase.

ANSWER:




      27.   All documents and communications related to any request or
indication Calvin Nodine that the Canton Police Department should bring criminal
charges against Nicole Chase.

ANSWER:



      28.   All documents and communications concerning all grounds and
reasons the Canton Police Department investigated Nicole Chase for possible



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criminal conduct in 2017, including claims that she made a false statement.

ANSWER:



       29.     Any and all insurance policies and declaration sheets related to any
insurance which may cover you for any damages arising out of the allegations in
the plaintiff’s complaint, or otherwise identified in your interrogatory responses.

ANSWER:




      30.   All documents and communications concerning all instances or
complaints of sexually derogatory remarks and sexually inappropriate or
harassing comments or conduct by members of the Canton Police Department
from January 1, 2007 to the present.

ANSWER:




                                      RESPECTFULLY SUBMITTED,
                                      THE PLAINTIFF

                                      By: /s/ Mary-Kate Smith
                                      Lewis H. Chimes (Fed. Bar No. ct07023)
                                      Mary-Kate Smith (Fed. Bar No. ct26820)
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                                 CERTIFICATION

      This is to certify that a copy of the foregoing has been sent via electronice
mail and regular mail, postage prepaid, to the following pro se parties and
counsel of record on this 25th day of June, 2018.

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                                              /s/ Mary-Kate Smith
                                              Mary-Kate Smith




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